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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


CHERRI LAWSON-BREWSTER,

        Plaintiff,
                                                           Case No. 4:06-cv-58
v
                                                           Hon. Wendell A. Miles
RIVER VALLEY SCHOOL DISTRICT,
a Michigan public body, and
JOSE VERA, an individual,

        Defendants.
                                          /


                                          JUDGMENT


        The defendants’ motion for summary judgment is granted, and this action is dismissed

with prejudice in its entirety.

        Entered this 22nd day of April, 2008.



                                                   /s/ Wendell A. Miles
                                                   Wendell A. Miles, Senior Judge
